       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                         JUDGMENT RENDERED AUGUST 27, 2024



                                      NO. 03-23-00304-CR


                                     Daniel Perry, Appellant

                                                  v.

                                   The State of Texas, Appellee




        APPEAL FROM THE 147TH DISTRICT COURT OF TRAVIS COUNTY
               BEFORE JUSTICES BAKER, KELLY, AND SMITH
      DISMISSED ON APPELLANT’S MOTION -- OPINION BY JUSTICE SMITH




This is an appeal from the judgment of conviction entered by the trial court. Daniel Perry has

filed a motion to dismiss the appeal. Therefore, the Court grants the motion, allows Daniel Perry

to withdraw his notice of appeal, and dismisses the appeal. Daniel Perry shall pay all costs

relating to this appeal, both in this Court and in the court below.
